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                                       In The United States Bankruptcy Court
                                         For The Southern District of Texas
                                                  Houston Division
In Re: April Danielle Cobb                                                                      Case No: 14-34613-H2-13
       Debtor(s)


                             MOTION TO DISMISS FOR FAILURE TO MAKE PAYMENTS


COMES NOW, William E. Heitkamp, Chapter 13 Trustee filing this MOTION TO DISMISS, and would show
the Court as follows:

     The Chapter 13 Trustee moves to dismiss this case based on the debtor (s), failure to make required
payments. At the time of the filing of this motion the debtors are delinquent $4781.82, an amount constituting
not less than 2 months of required payments.

   The total amount of the payments due under the plan at the time of the filing of this motion is $90,952.79.
The total of all funds paid to the Trustee as of the date of filing of this motion is $86,170.97. An itemized
payment history may be obtained by contacting the Trustee's office by phone or accessing the National
Datacenter's website at www.NDC.org.

                             NOTICE TO DEBTORS: YOU MUST DO ONE OF THE FOLLOWING:

    1. BRING YOUR PAYMENTS CURRENT WITHIN 15 DAYS OF THE DATE ON THIS MOTION.

    2. FILE A RESPONSE WITHIN 15 DAYS THAT SHOWS THAT YOUR PAYMENTS ARE CURRENT.

   IF YOU FAIL TO DO SO, THE BANKRUPTCY COURT WILL PROBABLY DISMISS YOUR
BANKRUPTCY CASE AND MAY DO SO WITHOUT A HEARING. THE BANKRUPTCY COURT WILL NOT
ALLOW PAYMENTS TO BE MADE AT THE HEARING.

    If a timely response is filed, a hearing will be held on March 19, 2019 at    9:00 am at the U.S. Courthouse,
515 Rusk, Courtroom # 400.

    WHEREFORE, the Trustee prays that the Court enter an Order of Dismissal or such other relief as may
be deemed just and appropriate.


                                                                      Respectfully Submitted,

                                                                      /s/ William E. Heitkamp, Trustee
                                                                      William E. Heitkamp, Trustee
                                                                      Admissions Id. No. 3857
                                                                      Kenneth P. Thomas, Staff Attorney
                                                                      Admissions Id. No. 1347
                                                                      Tiffany D. Castro, Staff Attorney
                                                                      Admission Id. No. 1419995
                                                                      Yvonne V. Valdez, Staff Attorney
                                                                      Admissions Id. No. 1129795
                                                                      9821 Katy Freeway, Suite 590
                                                                      Houston, Texas 77024
                                                                      (713) 722-1200 Telephone
                                                                      (713) 722-1211 Facsimile
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                                              CERTIFICATE OF SERVICE


I hereby certify that on or before 01/25/2019, a true and correct copy of the foregoing Chapter 13 Trustee’s
Motion to Dismiss was served on the parties listed below in the manner shown below.

By First Class Mail:


April Danielle Cobb

6807 Waterlilly View Ln.
Richmond, Tx 77469

Via ECF on the date the pleading was filed:
CROSLAND, SETH, Debtor's Attorney

Office of the US Trustee

                                                                   /s/ William E. Heitkamp
